 Case 2:13-cr-00011-RHB              ECF No. 94, PageID.227        Filed 10/17/13      Page 1 of 2




                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:13-cr-11-06

v.                                                    HON. ROBERT HOLMES BELL

JEFFREY PAUL NEIGHBORS,

                  Defendant.
____________________________________/


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 15, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JEFFREY PAUL NEIGHBORS entered a plea of guilty to Count One of the

Indictment, charging defendant with Conspiracy to Commit Theft From Gaming Establishment on

Indian Lands, in violation of 18 U.S.C. Section 371, in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Count One of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be
 Case 2:13-cr-00011-RHB           ECF No. 94, PageID.228           Filed 10/17/13      Page 2 of 2




considered for acceptance at the time of sentencing. It is further recommended that the order setting

conditions of defendant's release remain in effect pending sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, determination of defendant's status pending

sentencing, and imposition of sentence are specifically reserved for the district judge.



Date: October 17, 2013                                 /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




                                               - 2 -
